Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page1ofi2 PagelD 784

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page5of24 PagelD 727
AO 440 (Rev. 12/09) Summons in a Civil Action

 

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Jackson et al
Plaintiff

Vv.

 

Civil Action No. 4:22-cv-00825-P

Mayorkas et al

Defendant

 

Sw o@ SS Ss eS wo

Summons in a Civil Action

TO: Lloyd J Austin, Secretary of Defense

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose
name and address are:

Charles Fillmore

201 Main Street

Suite 801

Fort Worth , TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

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> a
DATE: 09/19/2022

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Signature of Clerk or Deputy Clerk NGISTRICS
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page 2of12 PagelD 785

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page 6of24 PagelD 728
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:22-cv-00825-P

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (V)

This summons for (name of individual and title, if any)

 

was received by me on (date)

[- Ipersonally served the summons on the individual at (place)

 

on (date)

 

 

[- I left the summons at the individual's residence or usual place of abode with (name)

 

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

 

by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

 

[ Ireturned the summons unexecuted because ; or

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My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

 

 

     

Date: 10/5/2022

Server's signature

Macy Shambeo

Printed name and title

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St. Camés, MO le310S

Server's address

Additional information regarding attempted service, etc:
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page 3of12 PagelD 786

  
 

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@ Print your name and address on the reverse X 0 Agent
so that we can return the card to you. C1 Addressee
@ Attach this card to the back of the mailpiece, B. Received by (Printed Name) C. Date of Delivery
or on the front if space permits. ‘
1. Article Addressed to: D. Is delivery address different from item 1? [J Yes

if YES, enter delivery address below: 0 No
Attorney General

of the United States

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

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0 Adult Signature Restricted Delivery O Registered Mail Restricted

 

 

 

 

 

 

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United States ° Sender: Please print your name, address, and ZIP+4® in this box®
Postal Service

Mary Catherine Hodes

Thomas More Society

112 South Hanley Road, Suite 200
St. Louis, MO 63105

 

 

 
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page4of12 PagelD 787

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page11lof24 PagelD 733
AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Jackson et al
Plaintiff

V.

 

Civil Action No. 4:22-cv-00825-P

Mayorkas et al
Defendant

 

Summons in a Civil Action

TO: Linda Fagan, Commandant of the Coast Guard

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose
name and address are:

Charles Fillmore

201 Main Street

Suite 801

Fort Worth , TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

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DATE: 09/19/2022

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Signature of Clerk or Deputy Clerk
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page5of12 PagelD 788

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page12of24 PagelD 734
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:22-cv-00825-P

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

 

was received by me on (date)

[~ Ipersonally served the summons on the individual at (place)

 

on (date) ; or

 

[I left the summons at the individual's residence or usual place of abode with (name)

 

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

 

[- Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

 

 

 

 

 

on (date) > OF
[ Ireturned the summons unexecuted because ; or
[X other (specify) vik
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My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: /O0/S/AoPa (Nay Geb

Server's signature

Marg Shambro

Printed name and title
112 § Hanley fed, St 200
St louis (Mo b3les

Server's address

Additional information regarding attempted service, etc:
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page6of12 PagelD 789

    
     

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® Complete items 1, 2, and 3. A. Signature
@ Print your name and address on the reverse X CO Agent

so that we can return the card to you. : Cl Addressee
® Attach this card to the back of the mailpiece, B, Received by (Printed Name) C. Date of Delivery

 

or on the front if space permits.
1. Article Addressed to:

 

D. Is delivery address different from item 1? 1 Yes
lf YES, enter delivery address below: O No

Attorney General.

of the United States

950 Pennsylvania Avenue; NW
Washington, DC 20530-0001

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O Adult Signature O Registered Mail™
O Adult Signature Restricted Delivery O Registered Mail Restricted

 

 

 

 

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Permit No. G-10

 

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United States ° Sender: Please print your name, address, and ZIP+4® in this box®
Postal Service

Mary Catherine Hodes

Thomas More Society

112 South Hanley Road, Suite 200
St. Louis, MO 63105

 

 

 

 
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page 7ofi2 PagelD 790

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page17 of 24 PagelD 739
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Jackson et al
Plaintiff

Vv.

 

Civil Action No. 4:22-cv-00825-P

Mayorkas et al
Defendant

 

Summons in a Civil Action

TO: Alejandro N. Mayorkas, Secretary of Homeland Security

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Charles Fillmore

201 Main Street

Suite 801

Fort Worth , TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

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DATE: 09/19/2022

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Signature of Clerk or Deputy Clerk ee
Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page 8of12 PagelD 791

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page 18o0f24 PagelD 740
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No. 4:22-cv-00825-P

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (V)

This summons for (name of individual and title, if any)

 

was received by me on (date)

[- Ipersonally served the summons on the individual at (place)

 

on (date)

 

 

[I left the summons at the individual's residence or usual place of abode with (name)

 

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

[I served the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

 

 

 

 

 

on (date) 3 or
[ Ireturned the summons unexecuted because ; or
NZ other (specify) obs Cervtd shh L Defctouns d Dace Yok Cott Zh Mel
—pUlS nant we FROPYC)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: /0/5/o022- / thu KG.

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C~ L) Server's signature

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Printed name and title

liz. 8. Hanley Rd, Sx 200
C+. Low's, 63105

Server's address

Additional information regarding attempted service, etc:
Case 4:22-cv-00825-P Document 27 Filed 10/05/22

 

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@ Complete items 1, 2, and 3.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,

or on the front if space permits.

Page 90f12 PagelD 792

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A. Signature
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|B, Received by (Printed Name) C. Date of Delivery

 

 

1. Article Addressed to:

Attorney General

of the United States

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

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D. Is delivery address different from item 1? C1 Yes
If YES, enter delivery address below: 1 No

 

 

 

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Postal Service

 

Mary Catherine Hodes

Thomas More Society

412 South Hanley Road, Suite 200
St. Louis, MO 63105

 

 

 

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Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page 10o0f12 PagelD 793

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page 23o0f24 PagelD 745
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Jackson et al
Plaintiff

V.

 

Civil Action No. 4:22-cv-00825-P

Mayorkas et al
Defendant

 

wm WS Sw ws

Summons in a Civil Action

TO: Brian Penoyer, Assistant Commandant for Human Resources of the Coast Guard

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose
name and address are:

Charles Fillmore

201 Main Street

Suite 801

Fort Worth , TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

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DATE: 09/19/2022

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Case 4:22-cv-00825-P Document 27 Filed 10/05/22 Page11lof1i2 PagelD 794

Case 4:22-cv-00825-P Document9 Filed 09/19/22 Page 24o0f24 PagelD 746
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:22-cv-00825-P

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Y)

This summons for (name of individual and title, if any)
was received by me on (date)

 

[- Ipersonally served the summons on the individual at (place)

 

on (date)

 

 

[- I left the summons at the individual's residence or usual place of abode with (name)

 

, aperson of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual's last known address; or

 

[~ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

 

on (date) 3 or

 

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My fees are $ for travel and $ for services, for a total of $

 

I declare under penalty of perjury that this information is true. /

Date:_ 10/5 /a0a> ( Digs GL.

~ Server Ss signature

Mary Sham bro

Printed name and title

NZ $ Hanley Rol, Sk 2e0
SY. Lines Mo 63/0F

Server's address

Additional information regarding attempted service, etc:
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& Complete items 1, 2, and 3. A. Signature
@ Print your name and address on the reverse. . : / Xe Agent

so that we can return the Gate you. : X CMD s Addressee
® Attach this card to the back of the mailpiece, B. Received by (Printed Name) C. Date of Delivery

or on the front if space permits.
1. Article Addressed to:

 

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D. Is delivery address different from item4? [ZI Yes
lf YES, enter delivery address below: CJ No

 

Mr. Lloyd J. Austin
Secretary of Defense
United States Department of Defense
1000 Defense Pentagon

Washington, DC 20301-1000

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O Adult Signature Restricted Delivery O Registered Mail Restricted

 

 

 

 

 

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